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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                       JOINT STATUS REPORT

           Pursuant to the Court’s January 22, 2021, Minute Order, the parties respectfully submit

the following joint status report.

           Position of the Defendants

           Defendants require additional time to evaluate their position in this case, due to the still-

ongoing transition to new leadership at the Department of the Treasury and the Department of

Justice.

           It is therefore Defendants’ view at this time that the parties should be directed to file a

further status report on March 3, 2021. Defendants would not object in the meantime to a

corresponding extension of the Court’s January 22 Minute Order requiring 72 hours’ notice to

counsel for the Intervenor-Defendants before a release of the Intervenor-Defendants’ tax-return

information to the Committee.
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       Position of the Plaintiff

       As the Committee explained during the January 22 status conference (Tr. 4-5), the

Committee’s request under 26 U.S.C. § 6103(f)(1) that Defendants furnish it with tax “return

[and] return information” of former President Trump remains outstanding. Defendants have not

yet complied with their legal obligation to furnish this information to the Committee, which

continues to need former President Trump’s tax returns and return information to further its

ongoing investigation into Internal Revenue Service administration and policy. The Committee

seeks expeditious resolution of this litigation.

       The Court noted at the status conference that how this case should proceed will depend

on “what the Treasury intends to do; what position it intends to take on some of the issues.” Tr.

18. As Defendants have indicated above, they have not yet taken a position on whether they

intend to comply with the Committee’s pending Section 6103(f)(1) request.

       Position of the Intervenor-Defendants

       For the reasons Intervenors previously have given, they are entitled to some notice and

opportunity to litigate before their return information is produced. Intervenors therefore agree

with Defendants’ proposed extension.


Dated: February 3, 2021


                                                   Respectfully submitted,

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                                                   JOHN R. GRIFFITHS
                                                   Director

                                                   ELIZABETH J. SHAPIRO
                                                   Deputy Director



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